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                   IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF ALASKA

ANCHORAGE SCHOOL DISTRICT,

                    Appellant,              Case No. 3:17-cv-00157-SLG

      vs.

M.G. and his parents BETSY and BRIAN           NOTICE OF PROPOSED
G.                                             SETTLEMENT / UNOPPOSED
                                               MOTION TO EXTEND STAYS
                    Appellees.



      The parties mediated the dispute on Wednesday, February 27, 2019, and reached a

settlement. However, the final agreement has not yet been approved by the Anchorage

School Board or executed by the parties. The Anchorage School Board will consider the

proposed settlement at its next scheduled meeting on Monday, March 18, 2019. The




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Anchorage School District proposes, and the other parties agree, that existing stays

remain in effect and the parties file a joint stipulated dismissal when the proposed

settlement is approved and executed. If, for some unknown reason, the proposed

settlement is not approved or not executed, the Anchorage School District proposes the

parties advise the court no later than Monday, March 25, 2019.

         DATED this 6th day of March, 2019.

                                              DAVIS WRIGHT TREMAINE LLP
                                              Attorneys for Appellant
                                              ANCHORAGE SCHOOL DISTRICT

                                              By: /s/ Gregory S. Fisher
                                              Gregory S. Fisher (ABA 9111084)

                                              By: /s/ Patrick Callahan
                                              Patrick Callahan (ABA 1611097)

                                              By: /s/ Jan Tomsky
                                              Jan Tomsky (Pro Hac Vice Admitted)
Certificate of Service
I hereby certify that on the 6th day of March, 2019, a true and
correct copy of the foregoing was served via the Court’s CM/ECF
electronic service on the following counsel of record:
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4813-7553-0121v.4 0022868-000003



NOTICE OF SETTLEMENT                                                     3:17-cv-00157-SLG
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